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    LETITIA JAMES, ATTORNEY GENERAL
    OF THE STATE OF NEW YORK




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

IN RE:                                                §
                                                      §     CASE NO. 21-30085-hdh-11
NATIONAL RIFLE ASSOCIATION                            §
OF AMERICA and SEA GIRT LLC,                          §     CHAPTER 11
                                                      §
                  Debtors.1                           §     Jointly Administered

                              THE STATE OF NEW YORK’S
                      MOTION TO DISMISS, OR, IN THE ALTERNATIVE,
                          TO APPOINT A CHAPTER 11 TRUSTEE




1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
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TO THE HONORABLE HARLIN D. HALE,
CHIEF UNITED STATES BANKRUPTCY JUDGE:

       The People of the State of New York, by Letitia James, Attorney General of the State of

New York (“NYAG”), a party in interest in the above-referenced bankruptcy case, submits this

motion (the “Motion”) for entry of an order pursuant to Sections 1104 and 1112 of the United

States Bankruptcy Code dismissing the Debtors’ bankruptcy cases, or in the alternative, to appoint

a Chapter 11 trustee. The NYAG also concurrently files its Memorandum of Law and Brief in

Support of the Motion (the “Brief”) and Appendix (the “Appendix”). In support of the Motion,

the NYAG respectfully states as follows:

       1.      On January 15, 2021 (the “Petition Date”), the National Rifle Association of

America (the “NRA”) and Sea Girt LLC (“Sea Girt” and together with the NRA, the “Debtors”)

filed its voluntary petition for bankruptcy under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”).

       2.      On February 4, 2021, the Official Committee of Unsecured Creditors (the

“Committee”) was appointed by the United States Trustee.

       3.      For the reasons identified and explained in the Brief, the NYAG respectfully

requests that the Court enter an order dismissing the Debtors’ bankruptcy cases, or in the

alternative, to appoint a chapter 11 trustee.

       WHEREFORE, the NYAG respectfully requests the Court (i) enter an Order, substantially

in the form attached hereto, dismissing the bankruptcy cases of the NRA and Sea Girt, or, in the

alterative, ordering the appointment of a chapter 11 trustee; and (ii) for any and all further relief,

at law or equity, to which the NYAG may be entitled.




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Dated: February 12, 2021.               Respectfully submitted,

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                                                – And –

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THE STATE OF NEW YORK’S MOTION TO DISMISS, OR, IN THE ALTERNATIVE, TO APPOINT A
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on February 12, 2021, a true and correct copy of the foregoing Motion
and Brief was served upon all parties entitled to notice, including the Debtors, United States
Trustee, and Official Committee of Unsecured Creditors via the Court’s electronic transmission
facilities. Any further methods of service will be reflected in a supplemental certificate of service.

                                                      /s/ Gerrit M. Pronske
                                                      Gerrit M. Pronske


                              CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that on February 12, 2021 he attempted to speak with Pat
Neligan, counsel for the Debtors, regarding the relief sought herein but was unable to reach him
as of the time of filing.

                                                      /s/ Gerrit M. Pronske
                                                      Gerrit M. Pronske




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